              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CIVIL CASE NO. 1:10cv53
                      [Criminal Case No. 1:05cr32-2]


VICTOR GUADARRAMA FLORES,        )
    Petitioner,                  )
                                 )
      v.                         )                    ORDER
                                 )
UNITED STATES OF AMERICA,        )
     Respondent.                 )
________________________________)



      THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custory [Doc. 1].

                         PROCEDURAL HISTORY

      On April 4, 2005, the Petitioner was charged with bank robbery, in

violation of 18 U.S.C. §§ 2113(a), armed bank robbery, in violation of 18

U.S.C. §§ 2113(d), and using, carrying and brandishing a firearm during a

crime of violence, in violation of 18 U.S.C. § 924(c)(1)(A)(ii). [Criminal Case

No. 1:05cr32-2, at Doc. 1].

      On May 7, 2007, the Petitioner entered guilty pleas to one count of bank

robbery and one count of using, carrying and brandishing a firearm during that



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robbery. [Id., at Doc. 52]. On April 29, 2008, the Hon. Lacy H. Thornburg

sentenced the Petitioner to 30 months imprisonment for the bank robbery

count to be followed by a consecutive sentence of 84 months imprisonment

for the brandishing count. [Id., at Doc. 56]. The Petitioner did not file a direct

appeal from his conviction or sentence.

      On February 22, 2010, the Petitioner filed this motion pursuant to §2255.

Because Judge Thornburg has retired, the case was reassigned to the

undersigned.

                           STANDARD OF REVIEW

      A prisoner in federal custody may attack his conviction and sentence on

the grounds that it is in violation of the Constitution or United States law, was

imposed without jurisdiction, exceeds the maximum penalty, or otherwise is

subject to collateral attack. 28 U.S.C. § 2255(a). However,

      [i]f it plainly appears from the face of the motion, and any attached
      exhibits, and the record of prior proceedings that the moving party
      is not entitled to relief, the judge must dismiss the motion and
      direct the clerk to notify the moving party.

Rule 4(b), Rules Governing Section 2255 Proceedings for the United States

District Courts.

      The Court, having reviewed the Petitioner’s Motion and the record of his

underlying criminal proceedings, finds that summary dismissal is warranted.



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                                    DISCUSSION

      In 1996, Congress enacted the Antiterrorism and Effective Death

Penalty Act (AEDPA). The AEDPA amended 28 U.S.C. §2255 by imposing

a one year statute of limitations period for the filing of a motion to vacate. The

amendment provides in pertinent part:

      A 1-year period of limitation applies to a motion under this section.
      The limitation period shall run from the latest of–

             (1) the date on which the judgment of conviction
             becomes final;

             (2) the date on which the impediment to making a
             motion created by governmental action in violation of
             the Constitution or laws of the United States is
             removed, if the movant was prevented from making a
             motion by such governmental action;

             (3) the date on which the right asserted was initially
             recognized by the Supreme Court, if that right has
             been newly recognized by the Supreme Court and
             made retroactively applicable to cases on collateral
             review; or

             (4) the date on which the facts supporting the claim or
             claims presented could have been discovered through
             the exercise of due diligence.

28 U.S.C. § 2255(f).1

      The Petitioner did not file a direct appeal from his conviction and



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        As noted infra, the Petitioner has not argued any of these grounds in support of
his motion.

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sentence. As a result, the Petitioner’s conviction and sentence became final,

for purposes of filing a motion pursuant to §2255, when the time for filing a

direct appeal expired. United States v. Johnson, 203 F.3d 823 (4 th Cir. 2000),

citing Kapral v. United States, 166 F.3d 565, 577 (3 rd Cir. 1999); accord,

United States v. Walker, 194 F.3d 1307 (4 th Cir. 1999), citing Adams v. United

States, 173 F.3d 1339, 1342 n.2 (11 th Cir. 1999).

      The Petitioner’s Judgment in his criminal case was entered on April 29,

2008. Fed.R.App.P. 4(b)(1)(A)(i) & 4(b)(6) (“A judgment ... is entered for

purposes of this Rule ... when it is entered on the criminal docket.”); United

States v. Neal, 166 F.3d 1211 (4 th Cir. 1998); Eubanks v. United States, 2009

WL 1916352 (N.D.W.Va. 2009). At the time of the Petitioner’s sentencing,

Federal Rule of Appellate Procedure 4(b) provided that in a criminal case, “a

defendant’s notice of appeal must be filed in the district court within 10 days

after the ... entry of ... the judgment ... being appealed[.]” Fed.R.App.P.

4(b)(1)(A)(i) (2008).   The Petitioner’s conviction and sentence, therefore,

became final on May 13, 2008.         Id.; Fed.R.Crim.P. 45(a) (2008) (then

excluding intermediate Saturdays, Sundays and legal holidays from

computation of filing deadlines when the period is less than 11 days). The

Petitioner’s motion pursuant to §2255 therefore must have been filed on or

before May 13, 2009.


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      The Petitioner’s motion, signed and mailed on February 19, 2010, was

untimely. In the motion, the Petitioner acknowledges that the motion was filed

outside the one year period. [Doc. 1, at 12].

      Even if the Petitioner had not raised the issue of the statute of

limitations, federal district courts have the power to raise the defense of

statute of limitations sua sponte when considering a §2255 motion. Hill v.

Braxton, 277 F.3d 701, 706 (4 th Cir. 2002); accord Eriline Co., S.A. v.

Johnson, 440 F.3d 648, 655-57 (4 th Cir. 2006). When the court finds that a

pro se motion pursuant to §2255 is untimely and the government has not

moved to dismiss on that basis, the court must warn the prisoner that his case

is subject to dismissal “unless it is indisputably clear from the materials

presented to the district court that the petition is untimely and cannot be

salvaged by equitable tolling principles.” United States v. Sosa, 364 F.3d 507,

510 (4 th Cir. 2004); United States v. Sexton, 56 Fed.Appx. 202 (4 th Cir. 2003).

      In December 2004, the Administrative Office of the Courts modified the

form for §2255 motions to comply with Hill’s notice requirement. The form

now includes a section which directs petitioners to address the timeliness of

the motion. Question 18 of the form provides:

      TIMELINESS OF MOTION: If your judgment of conviction became
      final over one year ago, you must explain why the one-year
      statute of limitations as contained in 28 U.S.C. §2255 does not
      bar your motion.

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[Doc. 1, at 12]. The Petitioner’s motion was written on this form and his

response to Question 18 was: “This petition is timely filed based on [the

Petitioner’s] Sixth Amendment rights violation to a requested appeal.” [Id.].

In the brief supporting the motion, the Petitioner claims he received ineffective

assistance of counsel because “counsel of record failed to file a notice of

appeal based on specific instructions from the Defendant.” [Doc. 1-1, at 1].

He reiterates that allegation           later in the brief, arguing that counsel

“disregarded specific instruction from Defendant to file a Notice of Appeal[.]”

[Id., at 4]. No further explanation of the manner in which that failure prohibited

the Petitioner from timely filing a motion pursuant to §2255 is provided.

       It is clear from the answer to the question that the Petitioner was aware

that he needed to explain why his motion was not timely filed. Since the

Petitioner has provided the reason he asserts as to why his motion should be

deemed timely filed, the Court finds that no further notice or opportunity for

response is required by Hill.2 See, Evans v. United States, 2010 WL 2131180


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        This case is distinguishable from Bilal v. North Carolina, 287 Fed. Appx. 241
(4th Cir. July 18, 2008), in which the Fourth Circuit remanded the dismissal of the §2255
motion for the district court to provide a Hill notice. In Bilal, the petitioner wrote “N/A”
next to Question 18 on the form, causing the Circuit to question whether he understood
the possibility that his motion would be dismissed as untimely. Here, it is clear from the
substantive response that the Petitioner knew his motion had been filed outside of the
one year period and was subject to dismissal. See, e.g., Sings v. North Carolina Dept.
Corr., 2010 WL 2775619 (W.D.N.C. 2010); Black v. United States, 2009 WL 1165431
(W.D.N.C. 2009) (Bilal held the new form provided requisite notice absent confusion by
the prisoner).

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(W.D.N.C. 2010); Byrd v. United States, 2009 WL 2426306 (W.D.N.C. 2009)

(claiming ineffective assistance of counsel);      Fuentes-Gonzales v. United

States, 2009 WL 2497937 **1 n.1 (W.D.N.C. 2009), appeal dismissed 2010

WL 1784733 (4 th Cir. 2010); Thompson v. United States, 2007 WL 3307194

(W.D.N.C. 2007), appeal dismissed 269 Fed. Appx. 258 (4 th Cir. 2008)

(claiming ineffective assistance of counsel); Cureton v. United States, 2007

WL 1651437 (W.D.N.C. 2007), appeal dismissed 238 Fed.Appx. 973 (4 th Cir.

2007).

      The Court also concludes that it is indisputably clear that the motion

may not be salvaged by equitable tolling and thus notice and opportunity for

further response is not required. Sosa, 364 F.3d at 512. A “litigant seeking

equitable tolling bears the burden of establishing two elements: (1) that he has

been pursuing his rights diligently, and (2) that some extraordinary

circumstance stood in his way.” Pace v. DiGuglielmo, 544 U.S. 408, 418, 125

S.Ct. 1807, 161 L.Ed.2d 669 (2005); Sosa, 364 F.3d at 512; Rouse v. Lee,

339 F.3d 238, 246 (4 th Cir. 2003) (en banc), certiorari denied 541 U.S. 905,

124 S.Ct. 1605, 158 L.Ed.2d 248 (2004). The grounds raised in this §2255

motion are that his attorney failed to argue that his status as a first time

offender constituted a mitigating circumstance, did not enforce a promise

concerning the weapons enhancement, did not file objections to the


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presentence report, and failed to file a notice of appeal. [Doc. 1]. Each of

these claims was available to the Petitioner as early as the day he was

sentenced. Pace, 544 U.S. at 418-19. At sentencing, the Petitioner was

advised of the ten day period within which he must file an appeal. Oiler v.

United States, 2009 WL 1073639 (S.D.W.Va. 2009), appeal dismissed 333

Fed.Appx. 788 (4 th Cir. 2009). Moreover, the failure of counsel to file an

appeal in no manner prevented the Petitioner from filing a motion to vacate

asserting the grounds raised herein.        United States v. Koenig, 2010 WL

1463409 (D.S.C. 2010). To the extent that the Petitioner might claim he was

unaware he could file a §2255 motion prior to the appeal, “ignorance of the

law is not a basis for equitable tolling.” Sosa, 364 F.3d at 512. A “petitioner’s

own ignorance or mistake does not warrant equitable tolling... .” Id., citing

United States v. Riggs, 314 F.3d 796, 799 (5 th Cir. 2002), certiorari denied 539

U.S. 952, 123 S.Ct. 2630, 156 L.Ed.2d 645 (2003).

      Assuming arguendo that the Petitioner did request an appeal,

“[i]neffective assistance of counsel generally does not warrant equitable

tolling.” Beery v. Ault, 312 F.3d 948, 951 (8 th Cir. 2002), certiorari denied 539

U.S. 933, 123 S.Ct. 2590, 156 L.Ed.2d 515 (2003), citing Harris v. Hutchinson,

209 F.3d 325, 331 (4 th Cir. 2000); but see, Holland v. Florida, 130 S.Ct. 2549,

78 USLW 4555 (2010) (remanding for determination whether counsel’s


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ineffective assistance warranted tolling in view of diligence exercised by

prisoner).3 The Petitioner has not alleged “serious attorney misconduct –

such as telling a defendant a [direct appeal] had been filed when it had not

been[.]” Rice v. United States, 2009 WL 1740505 (D.Md. 2009), appeal

dismissed 347 Fed.Appx. 949 (4 th Cir. 2009), citing United States v. Martin,

408 F.3d 1089, 1095 (8 th Cir. 2005). The Petitioner stated that he “instructed”

his attorney to file a notice of appeal.           Rice, supra.       Had the Petitioner

exercised due diligence, he would have discovered that his attorney did not

file an appeal before the expiration of the one year deadline. United States

v. Bear, 2010 WL 2773309 **2-3 (W.D.Va. 2010). The Petitioner, however,

“does not present any facts regarding how counsel’s failure to file a notice of

appeal prevented [him] from filing a timely §2255 motion.”                     Id.    Such

information was readily accessible to the Petitioner by contact with the court.

[Doc. 1-1, at 2]. Smith v. McGinnis, 208 F.3d 13 (2 nd Cir. 2000), certiorari




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         In Holland, the attorney had been appointed for the express purpose of
pursuing postconviction relief for the prisoner. The Court pointed to many instances of
Holland’s attempts to get his attorney’s attention, including efforts by his wife. The
attorney failed to respond for years to letters and phone calls and even failed to advise
his client that the state court had ruled against him. He missed the filing deadline for
the habeas petition although the prisoner had alerted the attorney to it. Holland
repeatedly contacted the court system and even the state bar in an attempt to have the
attorney removed from the case. The attorney was the singular impediment to the filing
of his petition. Finally, on the day that the prisoner learned the statute had run, he filed
a pro se petition. The Holland decision therefore represents a far different factual
scenario than that shown here.

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denied 531 U.S. 840, 121 S.Ct. 104, 148 L.Ed.2d 63 (2000) (circumstances

beyond prisoner’s control occur if he is prevented in an extraordinary way

from exercising his rights); Harris, 209 F.3d at 325 (unfamiliarity with legal

process, lack of representation insufficient). He therefore has not shown an

extraordinary circumstance which prevented him from timely filing this petition.

On these facts the Court is compelled to find that the Petitioner failed to act

with due diligence.

      “[E]quitable tolling is available only in ‘those rare instances where – due

to circumstances external to the party’s own conduct – it would be

unconscionable to enforce the limitation period against the party and gross

injustice would result.’” Sosa, 364 F.3d at 512, quoting Rouse, 339 F.3d at

246. The Court finds that the Petitioner has not made such a showing.

United States v. Prescott, 221 F.3d 686, 688 (4th Cir.2000) (equitable tolling

is an extraordinary remedy that is sparingly granted). The Petitioner’s motion

pursuant to §2255 therefore will be dismissed.

      The Court has considered the Petitioner’s motion, any attached exhibits,

and the record of the prior proceedings. The Court finds that the Petitioner is

not entitled to relief and therefore the motion must be dismissed. The Court

further finds that the Petitioner has not made a substantial showing of a denial

of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S.


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322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy §

2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong)

(citations omitted). As a result, the Court declines to issue a certificate of

appealability. Rule 11(a), Rules Governing Section 2255 Proceedings for the

United States District Courts.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] is hereby DENIED and this action is dismissed.

      IT IS FURTHER ORDERED that the Court declines to issue a certificate

of appealability.



                                         Signed: August 9, 2010




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